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                                        January 31, 2023
By ECF

Hon. Paul G. Gardephe
United States District Court
Southern District of New York
40 Foley Square, Room 2204
New York, New York 10007

       Re:     United States v. Lawrence Billimek,
               22 Cr. 675 (PGG)

Dear Judge Gardephe:

       On behalf of our client Lawrence Billimek, we respectfully write to request a
modification to Mr. Billimek’s bail conditions to allow him to travel within the contiguous
United States (i.e., the “lower 48 states”). This application is made without objection by Pretrial
Services or the government.

        Presently, Mr. Billimek’s conditions of release restrict him to travel in the Southern and
Eastern Districts of New York, District of Idaho, Western District of Texas, Eastern District of
Louisiana, and District of Oregon. Aside from the Southern and Eastern Districts of New York,
these are districts in which Mr. Billimek either resides or owns and maintains rental properties.
As Mr. Billimek was separated from his prior job upon the commencement of this case, renting
out these properties is now Mr. Billimek’s full-time employment. Accordingly, Mr. Billimek
must travel to these properties to maintain them, including by performing renovation and
construction work on the properties as needed, and otherwise preparing them for short- and long-
term rental.

        As travel to these properties will often occur by automobile or truck and will involve
bringing construction and renovation materials to and from the work sites, Mr. Billimek will of
necessity pass through a number of other federal districts on his way to these locations.
Accordingly, we consulted with Pretrial Services about the best way for us to seek the relevant
approvals from the Court. Pretrial Services indicated that they believed the best approach would
be for us to seek permission for Mr. Billimek to travel within the contiguous United States, given
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the significant number of districts at issue. Pretrial Services and the government have each
indicated that they have no objection to this arrangement.

       We thank the Court for its attention to this matter.

                                                     Respectfully submitted,


                                                     /s/ Telemachus P. Kasulis
                                                     Telemachus P. Kasulis

                                                     Counsel to Lawrence Billimek

cc:    Counsel of record (by ECF)
       Pretrial Services Officer Karina Chin Vilefort (by e-mail)




                                       Date: February 2, 2023
